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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

THE STATE OF GEORGIA,                    )
                                         )            CIVIL ACTION NO.
                                         )            1:23-cv-03621-SCJ
                                         )
v.                                       )
                                         )            RE: NOTICE OF REMOVAL
                                         )            OF FULTON COUNTY
                                         )            SUPERIOR COURT
MARK RANDALL MEADOWS                     )            INDICTMENT NO.
                                         )            23SC188947

               STATE OF GEORGIA’S POST-HEARING BRIEF

      Following an evidentiary hearing held on August 28, 2023, the Court directed

the parties to submit additional briefing on a single question:

      Count 1 of the Indictment (pertaining to Georgia’s Racketeer
      Influenced and Corrupt Organizations Act (RICO), O.C.G.A. § 16-14-
      4(c)) contains a number of overt acts attributed to Mr. Meadows. Would
      a finding that at least one (but not all) of the overt acts charged occurred
      under the color of Meadows’s office, be sufficient for federal removal
      of a criminal prosecution under 28 U.S.C. § 1442(a)(1)?
For all of the following reasons, the State of Georgia responds that the answer to this

question is no. A finding that at least one, but not all, of the overt acts attributed to

the defendant would not be sufficient to authorize removal.
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  I.        The defendant’s prosecution commenced not from any individual
            overt act, but from his entry into a conspiracy.

         The defendant’s prosecution was not commenced against him “for or related

to any act” under color of his office. 28 U.S.C. § 1442(a)(1). The defendant’s

prosecution commenced because he knowingly and willfully entered into an

agreement to violate the Georgia RICO Act. The overt acts alleged in the

Indictment, as with any indictment charging a violation of a conspiracy statute

containing an overt act requirement, are required to be pled only to “demonstrate

the conspiracy was actually ‘at work’”. Nordahl v. State, 306 Ga. 15, 26 n.22

(2019), citing Carlson v. United States, 187 F.2d 366, 370 (10th Cir. 1951).

         The defendant is charged in Count 1 with agreeing to join a conspiracy that

planned to overturn the lawful results of an election in Georgia. A scenario where

at least one, but not all, of the overt acts attributed to the defendant in Count 1 of

the Indictment occurred under color of office would not be sufficient to authorize

removal because it would not demonstrate that his agreement to join in the RICO

conspiracy described in Count 1 was an act “for or related to” his duties as Chief of

Staff.

         An examination of RICO and conspiracy law more generally illustrates the

crucial difference between a single overt act and joining a conspiracy. Count 1

charges the defendant with a violation of O.C.G.A. § 16-14-4(c), in that he

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“conspired and endeavored to participate in” an enterprise to violate O.C.G.A § 16-

14-4(b). Subsection (a)(1) of the statute is violated when a person “together with

one or more persons conspires to violate any of the provisions of subsection (a) or

(b) of this Code section and anyone or more of such persons commits any overt act

to effect the object of the conspiracy . . .” O.C.G.A. § 16-14-4(b) provides that “[i]t

shall be unlawful for any person employed by or associated with any enterprise to

conduct or participate in, directly or indirectly, such enterprise through a pattern of

racketeering activity.”

     The question posed by this Court contemplates a finding that the defendant

has committed at least one overt act under Count 1 outside the color of his office.

This would be more than what is required to demonstrate the defendant’s

participation in the RICO conspiracy. In contrast to a substantive violation of

O.C.G.A. § 16-14-4(b), a conspiracy to violate that provision does not, as the

language of subsection (c)(1) makes clear, require that a defendant commit or agree

to commit two acts of racketeering activity himself. Faillace v. Columbus Bank &

Trust Co., 269 Ga. App. 866, 870, 605 S.E.2d 450, 454 (2004), citing Salinas v.

United States, 522 U.S. 52, 63 (1997). Under Georgia law, a person is guilty of a

RICO conspiracy “if they knowingly and willfully join a conspiracy which itself

contains a common plan or purpose to commit two or more predicate acts.” Cotman


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v. State, 342 Ga. App. 569, 585, 804 S.E.2d 672, 684 (2017) (emphasis added).

While Georgia RICO, unlike federal RICO, requires that one of the conspirators

commit an overt act, there is no requirement that the defendant himself commit an

overt act because “each actor in a conspiracy is responsible for the overt actions

undertaken by all the other co-conspirators in furtherance of the conspiracy.” Pasha

v. State, 273 Ga. App. 788, 616 S.E.2d 135, 138 (2005) (citing Causey v. State, 154

Ga. App. 76, 79, 267 S.E.2d 475, 479 (1980); accord Akintoye v. State, 340 Ga.

App. 777, 780, 798 S.E.2d 720, 724 (2017) (applying general conspiracy law to

RICO: “It is well settled that when individuals associate themselves in an unlawful

enterprise, any act done in pursuance of the conspiracy by one or more of the

conspirators is in legal contemplation the act of all.”). This is consistent with federal

conspiracy law. Bannon v. United States, 156 U.S. 464, 469 (1895) (rejecting

proposed requirement that the government allege defendant personally commit an

overt act).

     Because “[a] conspiracy is a partnership in crime . . .”, Pinkerton v. United

States, 328 U.S. 640, 644 (1946),1 the gravamen of a RICO conspiracy is “premised


1
  Georgia courts have applied Pinkerton. McLeod v. State, 279 Ga. 99, 102, 772
S.E.2d 641, 644 (2015). Thus, “[as] a co-conspirator and party to a crime, the
racketeering activity underlying Whaley’s RICO violation included not only the
acts of himself, but also of Rice.” Whaley v. State, 343 Ga. App. 701, 704, 808
S.E.2d 88, 92 (2017).

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not upon the commission of the predicates of racketeering, or even an agreement to

commit predicate acts, but upon an agreement to participate in the affairs of the

criminal enterprise through a pattern of racketeering activity.”2 de la Osa v. State,

158 So.3d 712, 731 (Fla. App. 2015) (citing, inter alia, Salinas, 522 U.S. at 63-66).

     The Indictment alleges that the defendant conspired to violate the Georgia

RICO statute, and the State of Georgia has submitted evidence substantiating that

allegation. The defendant coordinated and actively participated in a phone call

between codefendant Donald J. Trump, lawyers for Mr. Trump’s presidential

campaign, and officials from the Georgia Secretary of State’s Office, during which

Mr. Trump berated the Secretary to overturn the results of an election Mr. Trump

had lost. On the call, the defendant used the inclusive pronoun “we” to refer to

information possessed by the campaign and its lawyers, and he directly disputed the

Secretary’s investigatory findings regarding the number of “dead voters,” insisting

“I can promise you there are more than that.” Earlier, the defendant contacted

another Secretary of State official and inquired whether the Trump campaign could

“speed up” a signature audit by providing funding directly to the State. And after



2
  See Jefferson County v. Acker, 527 U.S. 423, 447 (1999) (Scalia, J., concurring
in part and dissenting in part) (“The point is only that the officer should have to
identify as the gravamen of the suit an act that was, if not required by, at least
closely connected with, the performance of his official functions.”).

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insisting that he did not play “any role” in the coordination of slates of “fake

electors” throughout several states, the defendant was forced to acknowledge under

cross-examination that he had in fact given direction to a campaign official in this

regard. Specifically, the defendant wrote an email, State’s Exhibit 1, in which he

said, “We just need to have someone coordinating the electors for the states” and

attached a memorandum written by co-defendant Kenneth Chesebro recommending

the organization of slates of presidential electors to meet and cast votes for Mr.

Trump in states Mr. Trump had lost.3

     The defendant has not disputed his participation in these events; he simply

argues that all of them were within the scope of his duties and occurred under color

of office. The Court thus has undisputed evidence of the defendant committing the

act at issue in Count 1: conspiring to violate Georgia’s RICO statute by joining in

a common plan to overturn the results Georgia’s 2020 presidential election. A

finding that some of the overt acts attributed to the defendant occurred under color



3
  The Court has ample basis not to credit some or all of the defendant’s testimony
from the evidentiary hearing. In addition to the contradiction highlighted above,
the defendant said repeatedly that he misused the pronoun “we,” an assertion that
would materially alter the plain meaning of several of his relevant statements. The
defendant also repeatedly insisted he was merely “trying to land the plane” and
achieve “a peaceful transition of power,” a statement clearly belied by his
participation in the Trump campaign’s attempts to overturn the outcome of
Georgia’s election.

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of office would not suffice to show that the defendant’s joining in the conspiracy

was itself under color of office or even related to it.

     A case familiar to this Court provides a useful example of a scenario where a

federal officer’s entry into a conspiracy could occur under color of office. In

Baucom v. Martin, a local prosecutor was considering filing charges against an FBI

agent for the agent’s activities related to an attempt to bribe a local official. 677

F.2d 1346, 1347-48 (11th Cir. 1982). The attempted bribe was part of a joint

federal-state investigation into local government corruption and possible federal

RICO violations. The Eleventh Circuit held that any attempt to secure a bribe fell

within the agent’s duties as a federal officer conducting such an investigation and

the prosecution was therefore barred by Supremacy Clause immunity. Id. at 1350.

If the agent and others had been charged with conspiracy for their coordinated plan

seeking to bribe a local official, the case would have been subject to removal

because the act of conspiring in that case would clearly have been committed under

color of the agent’s office.

     The circumstances of this case are easily distinguishable. The defendant

conspired not for any purpose related to his duties as Chief of Staff, but to transform

Mr. Trump from a losing political candidate into a winning one, no matter what the

outcome of the election had actually been. The conspiracy did not involve a


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common plan seeking to fulfill a federal objective or enforce federal law; it sought

to fulfill an openly personal goal of Mr. Trump’s that the defendant acknowledged

he shared. A finding that, as part of that conspiracy, the defendant may have

committed one or even several acts that fell within the color of his office would not

demonstrate that he was being prosecuted for an act “for or related to” his office.

That is because the gravamen of the charge, the relevant act as contemplated by

section 1442(a)(1), remains conspiring itself, and there is no evidence before the

Court demonstrating that the conspiracy in which the defendant participated sought

to further some authorized or lawful federal interest related to the defendant’s

office. As a result, the answer to the Court’s question is no: a finding that some but

not all of the defendant’s overt acts were committed under color of his office would

not suffice to authorize removal of his case.4



4
  A single reference in Mesa v. California stating that, regarding the presence of a
federal question, “if there be a single such ingredient in the mass, it is sufficient.
That element is decisive upon the subject of jurisdiction,” provides no support for
a contrary result. 489 U.S. 121, 129 (1989), citing The Mayor v. Cooper, 6 Wall.
247, 252 (1868). That statement related to the requirement that a defendant assert
a federal defense, id., and it does not reduce the defendant’s burden in making the
necessary showing: “It must appear that the prosecution of him, for whatever
offense, has arisen out of the acts done by him under color of federal authority and
in enforcement of federal law, and he must by direct averment exclude the
possibility that it was based on acts or conduct of his not justified by his federal
duty.” Mesa, 489 U.S. at 131-32, citing Maryland v. Soper (No. 1), 270 U.S. 9, 33
(1926) (emphasis added). Here, in the question posed by this Court, the defendant

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  II.      The defendant cannot demonstrate that he has a colorable federal
           defense.

        In the scenario outlined in this Court’s question, the defendant would not be

able to raise a “colorable federal defense.” Such a defense is required in order to

secure removal. Mesa v. California, 489 U.S. 121, 136 (1989). In the context of

removal, “colorable” means “plausible.” Magnin v. Teledyne Cont’l Motors, 91

F.3d 1424, 1427 (11th Cir. 1996). The defendant has attempted to raise a defense

of Supremacy Clause immunity, which requires him to show both that he was

performing “an act which he was authorized to do by the law of the United States”

and that, in performing that authorized act, “he did no more than what was

necessary and proper for him to do.” In re Neagle, 135 U.S. 1, 75 (1890) (emphasis

added). In the Eleventh Circuit, a defendant’s claim of Supremacy Clause immunity

is negated by any evidence that they acted out of “personal interest, malice, actual

criminal intent, or for any other reason than to do [their] duty as [they] saw it.”

Baucom, 677 F.2d at 1350.

        A finding that some but not all overt acts occurred under color of office would

not suffice to authorize removal of a conspiracy to violate Georgia’s RICO statute.

By contrast, a finding that some of the defendant’s overt acts did not occur under


has not made a showing “excluding the possibility” that his prosecution is based
on “acts or conduct of his not justified by his federal duty.”

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color of office would affirmatively defeat his attempt at removal because it would

make it impossible for the defendant to plausibly raise a complete defense of

Supremacy Clause immunity to Count 1.

     As noted above, the question posed by this Court contemplates a finding that

the defendant has committed at least one overt act under Count 1 outside the color

of his office, which is more than what is required to convict the defendant under

Count 1. This is because the State of Georgia need not prove that the defendant

himself committed an overt act in furtherance of the conspiracy, but only that

someone had committed such an overt act.5 That person could be any other co-

conspirator.6 However, in the question posed by the Court here, where one or more


5
 Again, the example drawn from the facts of Baucom above is useful. If the federal
agent in that case had been indicted for conspiracy, he still would have been able
to remove his case, even if held responsible for the overt acts of all other co-
conspirators. This is because those overt acts would all have been no more than
what was “necessary and proper” to effectuate the bribery investigation and its
plan, “an act which he was authorized to do under the laws of the United States.”
Neagle, 135 U.S. at 75.
6
  Georgia law is clear on this point: where a defendant is charged with conspiracy
and also separately charged with a single overt act alleged against him, the fact that
he was found not guilty of the charge involving the overt act does not foreclose a
finding of guilty based upon the conspiracy where there is sufficient evidence of
the commission of overt acts by others in furtherance of that conspiracy. Thomas
v. State, 215 Ga. App. 522, 523, 451 S.E.2d 516, 517 (1994); Hall v. State, 241 Ga.
App. 454, 460, 525 S.E.2d 759, 764 (1999) (defendant could be convicted of
conspiracy even if the jury did not believe he committed the one overt act which
he was independently alleged to have committed, as long as the overt act that his

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overt acts fall outside the defendant’s color of office, the State of Georgia’s case

would be much stronger than that: the person who committed an overt act would be

the defendant. This would put the required showing under Neagle that he “did no

more than what was necessary and proper for him to do” out of reach. Any

Supremacy Clause immunity defense premised upon the argument that some, but

not all, of the defendant’s overt acts fell within the color of his office would be

incomplete and insufficient, because a defense applicable only to individual overt

acts does not function as a defense to a violation of O.C.G.A. § 16-14-4(c).7



co-conspirator allegedly committed was proven). As Pasha and the other cases
cited above make clear, the State need not prove that Meadows engaged in any
overt acts, so long as it shows that at least one co-conspirator engaged in at least
one overt act. Indeed, under both Georgia and federal law an overt act need not be
a crime in itself. McCright v. State, 176 Ga. App. 486, 487, 336 S.E.2d 361, 363
(1985). See, e.g., Iannelli v. United States, 420 U.S. 770, 785 n.17 (1975) (“The
overt act requirement in the conspiracy statute can be satisfied much more easily.
Indeed, the act can be innocent in nature, provided it furthers the purpose of the
conspiracy.”); Pierce v. United States, 252 U.S. 239, 243 (1920) (“Yet the overt
act need not be in and of itself a criminal act; still less need it constitute the very
crime that is the object of the conspiracy.”). Federal conspiracy law is to the same
effect. See, e.g., Bannon v. United States, 156 U.S. 464, 468-469 (1895) (refusing
to require that an overt act be proven against every member of the conspiracy).
7
  See Donovan v. Schiavone Constr. Co., 601 F. Supp. 574, 579 n.7 (S.D.N.Y.
1985) (applying state substantive law to determine that where defendant’s
submitted defense of withdrawal did not include an additional required element,
“under the applicable law, petitioner's claims regarding his withdrawal from [a
conspiracy], if proven, may not constitute a defense at all.”) (emphasis added).


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          Given the weight of authority contrary to the defendant’s position, he will

likely emphasize the permissive standards related to raising a colorable federal

defense. However, while the defendant need not show a “clearly sustainable

defense”8 at this stage, he cannot even show a “possibly sustainable defense.”

Likewise, while he is not required to “virtually win his case,”9 he cannot even show

that his defense would make it possible for him to win his case. Supremacy Clause

immunity could do neither under the scenario contemplated in this Court’s question.

To hold that a “plausible” defense need not be a “complete” defense would reduce

the test for federal removal from “permissive” to “nearly invisible.” Indeed, many

federal courts have held that a “colorable federal defense” must be a “complete

defense,” a minimum requirement so uncontroversial that it does not appear to have

ever been challenged. See Hagen v. Benjamin Foster Co., 739 F.Supp.2d 770, 778,

783 (E.D. Pa. 2010) (“Thus, the Court concludes that a defense is colorable for

purposes of determining jurisdiction under Section 1442(a)(1) if the defendant




8
    Willingham v. Morgan, 395 U.S. 402, 407 (1969).
9
    Id.


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asserting it identifies facts which, viewed in the light most favorable to the

defendant, would establish a complete defense at trial.”).10

     Simply put, “[s]ection 16-14-4(c) makes it illegal ‘for any person to conspire

or endeavor to violate’ Section 16-14-4(a) [or (b)]. To violate section 16-14-4(c),

one must either commit an overt act to ‘effect the object of’ the endeavor or

conspiracy or a co-conspirator must commit such an overt act.” Doe v. Red Roof

Inns, Inc., 21 F.4th 714, 728 (11th Cir. 2021). To prove that the defendant conspired

to violate the RICO statute, the State of Georgia must prove that some co-

conspirator committed an overt act. This scenario in the question posed by this

Court contemplates the defendant himself having committed at least one overt act



10
   Courts that have followed Hagen’s formulation requiring the showing of a
“complete defense” without any dispute include the Third Circuit, Papp v. Fore-
Kast Sales Co., Inc., 842 F.3d 805, 815 (3d Cir. 2016); the Southern District of
Alabama, Morgan v. Bill Vawn Co., Inc., 2011 WL 6056083, * 5 (S.D. Ala. Dec.
6, 2011), Davis v. Central Ala. Elec. Coop., 2015 WL 4742496 (S.D. Ala. Aug. 11,
2015); the Southern, Eastern, and Northern Districts of New York, Williams v.
Aetna Life Ins. Co., 2013 WL 593505, * 6 (S.D. N.Y. Jan. 30, 2013), Gordon v. Air
& Liquid Systems, Corp., 990 F.Supp.2d 311, 316-17 (E.D. N.Y. 2014), Gates v.
AO Smith Water Prods. Co., 2014 WL 104965, * 4-5 (N.D. N.Y. Jan. 9, 2014),
Crews v. Air & Liquid Systems, Corp., 2014 WL 636362, * 3 n. 2 (N.D. N.Y. Feb.
18, 2014); and many others. See also Walkup v. Air & Liquid Systems Corp., 2013
WL 5448623, * 4-5 (D. Del. Sept. 26, 2013); Joyner v. A.C. & R. Insulation Co.,
2013 WL 877125, * 6 (D. Md. Mar. 7, 2013); Thompson v. Crane Co., 2012 WL
1344453, * 20 (D. Haw. April 17, 2012); Kraus v. Alcatel-Lucent, 2018 WL
3585088 (E.D. Pa. July 25, 2018).


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outside the color of his office. Such a finding would demonstrate that Supremacy

Clause immunity could not function as a complete, and therefore plausible, defense.

Thus, if the Court finds that any of the defendant’s overt acts were not committed

under color of his office, the defendant cannot raise a colorable defense of

Supremacy Clause immunity.


  III.     The defendant sees no distinction among his overt acts.

     The scenario contemplated by the Court in its order seeking additional

briefing distinguishes among the overt acts allegedly committed by the defendant,

suggesting that some may fall under the color of his office while others may not.

The State of Georgia again observes that the defendant makes no such distinction.

In his Motion to Dismiss (Document 16-1), filed on August 19, the defendant insists

that “[a]ll of the alleged conduct as to Mr. Meadows relates to protected political

activity that lies in the heartland of First Amendment” and “[a]ll the substantive

allegations in the Indictment concern unquestionably political activity and thus, if

not covered by Supremacy Clause immunity, the charges would be barred by the

First Amendment.” Doc. 16-1 at 23-24. The State of Georgia has already submitted

arguments to the Court regarding the interaction between the defendant’s

admission, the prohibitions applicable to him under the Hatch Act, and the scope of

his duties as Chief of Staff. However, the State observes that the defendant has

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characterized the “gravamen”11 of his own conduct—all of his conduct—as

“unquestionably political activity.”



                                     CONCLUSION

        The defendant was indicted not for any individual overt act but for entering

into a conspiracy to violate Georgia’s RICO Act. The defendant must raise a

colorable federal defense, not to some subset of overt acts, but to actual violation

of O.C.G.A. § 16-14-4(c) with which he is charged. Thus, a finding that some, but

not all, of the over acts attributed to the defendant in the Indictment occurred under

the color of his office would not suffice to authorize removal. Instead, a finding

that some, but not all, of the overt acts attributed to the defendant did not occur

under color of his office would defeat the defendant’s attempts at removal. Such a

finding would preclude the defendant from raising a complete Supremacy Clause

immunity defense to Count 1, and it would not alter the fact that the defendant had

no lawful authority to enter into a conspiracy intended to overturn the results of

Georgia’s presidential election. Even if the burden on a defendant seeking removal

is permissive, it is not nonexistent, particularly when his case is a criminal

prosecution. Where the evidence before the Court and the defendant’s own


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       See Acker, 527 U.S. at 447 (Scalia, J., concurring in part and dissenting in part).

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admissions demonstrate that his conduct was not authorized by federal law or “no

more than what is necessary and proper” for the performance of his duties, the

defendant cannot meet his burden, and his Notice of Removal must fail.

     Respectfully submitted, this 31st day of August 2023.

                                            FANI T. WILLIS
                                            DISTRICT ATTORNEY
                                            ATLANTA JUDICIAL CIRCUIT

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                      CERTIFICATE OF COMPLIANCE

     The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.)

in that it is double-spaced and composed in 14-point Times New Roman font.

     This 31st day of August 2023.




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                   CERTIFICATE OF SERVICE

I hereby certify the foregoing was served upon the following by email:
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Dated this 31st day of August, 2023.


                   s/ F. McDonald Wakeford
                   F. McDonald Wakeford




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